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   1                      IN THE UNITED STATES DISTRICT COURT

   2                               FOR THE DISTRICT OF MARYLAND

   3

   4      JEFF HULBERT, et al.

   5                               Plaintiffs

   6      v.                                                         CASE NO.:

   7      SGT. BRIAN T. POPE, et al.                                 1:18-CV-02317 GLR

   8                               Defendants

   9      _______________________________/

 10

 11

 12                                The deposition of SGT. KEVIN M. ROBY was

 13       held on Tuesday, January 21, 2020, commencing at

 14       10:00 a.m., at the Offices of Hansel Law, P.C., 2514

 15       North Charles Street, Baltimore, Maryland 21218,

 16       before Kaleigh Irish, RPR, Notary Public.

 17

 18

 19

 20

 21       REPORTED BY:               Kaleigh Irish, RPR
                                                                                    Exhibit C
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   1      you're filling in for?                        You follow what I'm asking?

   2                A              You mean like what -- if I'm filling in

   3      for lieutenant governor, what am I doing?

   4                Q              Correct, yeah.

   5                A              So usually advance.

   6                Q              All right.         And just so we're on the same

   7      page:

   8                               As I understand it, the lieutenant

   9      governor, in terms of what I think of as direct

 10       protection of people who are directly with him, has

 11       an advance person and then a person -- they used to

 12       call it a body man.                     I think they like to call it

 13       something else now, but a protection person who is

 14       right with him.

 15                                Is that the team, an advance person and a

 16       protection person?

 17                 A              Yes.

 18                 Q              And so -- and usually, you're advance

 19       when you fill in for the lieutenant governor, is

 20       that right?

 21                 A              Correct.
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   1      governor intends to walk it, you walk it first.                                        Is

   2      that fair?

   3                A              Correct.

   4                Q              And in my understanding, in Annapolis,

   5      there is a lot of cameras available.                                   Are you able

   6      to -- or, do you check out the route on cameras

   7      first, or do you just go ahead and walk it?

   8                A              I just walk it.

   9                Q              And then in addition to the protection

 10       person and the advance person, my understanding is

 11       that executive protection has sort of a dispatch

 12       that works out of the governor's mansion.                                  A couple

 13       of different people have suggested that they refer

 14       to that person as different things.

 15                                What do you call that person who is in the

 16       governor's mansion relaying radio and telephone

 17       traffic for executive protection, the state police

 18       employee who is there?

 19                 A              We just call them the desk or console.

 20                 Q              And as the advance person, do you

 21       communicate directly with the desk or console?
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   1                A              Yeah.     I mean, yes.

   2                Q              What kind of issues do you communicate

   3      with the desk or console about as the advance

   4      person?

   5                A              I mean, pretty much just let them know

   6      if -- or, like when the lieutenant governor is en

   7      route or when he gets there.

   8                Q              So the console is kept up-to-date about

   9      the location and movements of your protectee, is

 10       that fair?

 11                 A              Yes.

 12                 Q              When you're walking a route for a

 13       protectee and you encounter picketers or folks with

 14       signs, how are they treated?                             What's your approach

 15       there?

 16                 A              How are they treated?

 17                 Q              Well, what's your approach?                   What do you

 18       do?       In other words, do you call in and check on

 19       them, do you talk to them, do you just ignore them?

 20       What's your -- what's your typical approach?

 21                 A              I mean, if they're just holding signs,
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   1      I'm not going to go up and talk to them.

   2                Q              Okay.

   3                A              Normally, we ignore them.                     So if we're

   4      just walking by, yeah, I'll keep an -- you know,

   5      I'll see what the signs say and walk by.

   6                Q              In other words, you just walk by, read

   7      whatever the signs are, and keep going.                                  Is that

   8      fair?

   9                A              Correct.

 10                 Q              In terms of -- I'm not quite sure how to

 11       frame this question, so let me try to walk you

 12       through it and then see if this makes sense.

 13                                I'm trying to understand who makes what

 14       decisions between the protectee and the -- if it

 15       matters, we're -- I'm talking about the lieutenant

 16       governor.                And the -- and his executive protection

 17       team.

 18                                So an example is:               If he is going to move

 19       between two buildings, I assume the time he is going

 20       to move, when he wants to go, scheduling is generally

 21       up to him and, you know, absent obviously some
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   1      emergency.                But it's generally up to him when he is

   2      going to move and where he is going to go.

   3                               Is that fair?           And then you guys have to

   4      just basically make sure he is safe doing that.                                         Is

   5      that accurate?

   6                A              I would say it's more on the staff to get

   7      him from Point A to Point B.

   8                Q              When you say staff, not executive

   9      protection, but his --

 10                 A              Right, his staff.

 11                 Q              Okay.     Good, understood, understood.                        But

 12       it's not generally a state police decision when the

 13       lieutenant governor is going to move between two

 14       buildings or which two building he's going to move

 15       between, that kind of thing?

 16                 A              No, we don't tell him when.                      You know,

 17       it's generally on his staff or him.                                    When he is

 18       ready to go, we go.                     We're not telling him when.

 19                 Q              And what other types of decisions are his

 20       versus the executive protection team?                                    If you can,

 21       you know, describe to me.                          What decisions does the
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   1      lieutenant governor and his staff make versus what

   2      decisions do you guys make?

   3                               MR. FREDERICKSON:               Objection.      Go ahead.

   4                A              I can answer that?

   5                               MR. FREDERICKSON:               Yes.

   6                A              Okay.

   7                               MR. FREDERICKSON:               You can.      If you -- if

   8      you have facts and you can respond.

   9                A              No, no.      I would say there is no decision

 10       he tells us to make, you know.                              That's about it on

 11       that.

 12                 Q              In other words, there is -- there is --

 13       the ultimate authority is the lieutenant governor as

 14       the elected official, is that right?

 15                                MR. FREDERICKSON:               Objection.      You can go

 16       ahead.

 17                 A              Can you repeat it?

 18                 Q              Sure.     The ultimate authority is the

 19       lieutenant governor as the elected official, is that

 20       right?

 21                                MR. FREDERICKSON:               Objection.      Go ahead.
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   1                A              Yes.

   2                Q              Going back to my question about

   3      picketers, you mentioned reading their signs.                                     Is

   4      that information ever communicated anywhere by you?

   5      In other words, what their message is, what they're

   6      in favor of or against, what their position is, who

   7      they are, that kind of information.

   8                A              I'm sorry, repeat that one.

   9                Q              Sure.     You mentioned reading the signs of

 10       picketers --

 11                 A              Right.

 12                 Q              -- when you're doing your advance work.

 13       Do you ever communicate any information about

 14       picketers to anyone as you're doing your work?

 15                 A              It depends on the situation, but possibly

 16       to my protection guy.

 17                 Q              And what kind information is sometimes

 18       shared with the protection guy?

 19                 A              Alternate routes we can take, depending

 20       on the situation.

 21                 Q              And what about picketers, just in
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   1                A              Yes.

   2                Q              And that -- it's been explained to me --

   3                               Oh, and if you look down under lieutenant

   4      governor, for Sgt. Shisko, you'll see it says SL,

   5      which I've been told means sick leave.                                 It's been

   6      explained to me, and I just -- to avoid 50 questions

   7      and just make sure we're on the same page:

   8                               It's been explained to me that this LADV

   9      means that you were doing the advance work for the

 10       lieutenant governor on the -- in the second half of

 11       the day, L being the late shift, for covering for

 12       Sgt. Shisko, who was out on sick leave.

 13                                Does that look like an accurate

 14       interpretation of the document?

 15                 A              Yes.

 16                 Q              But are you here to tell me -- and we're

 17       going to talk about it a little more, so maybe we'll

 18       jog your memory.                   But at this point, do you remember

 19       anything about Monday, February 5, 2018?

 20                 A              No.

 21                 Q              All right.         And looking at the document,
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   1      it looks like you would have been working with TFC

   2      Water, is that right?

   3                A              Yes.

   4                Q              And I think we already said you'd be in

   5      the later shift working advance, and Water then

   6      would be the protection person.                               Is that right?

   7                A              Yes.

   8                Q              Based on what we've already talked about,

   9      all right.                And when did that later shift start?                           Do

 10       you -- do you -- generally, when does it start?

 11                 A              Generally, it starts around 2:30.

 12                 Q              P.m., is that right?

 13                 A              Yes.

 14                 Q              And how -- is it an eight-hour shift, in

 15       general?

 16                 A              Generally, yes.

 17                 Q              And I understand the nature of your work

 18       is that you may get held over, you may get called in

 19       early, that kind of thing.

 20                 A              Yes.

 21                 Q              But generally, it starts at 2:30 and then
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   1      would go 'til 10:30, approximately, is that right?

   2                A              Yes, sir.

   3                Q              All right.         Have you had a chance to

   4      review any documents prior to today in preparation

   5      for your testimony?

   6                A              No.

   7                Q              Have you reviewed any depositions?                        You

   8      may be aware lots of people, you know, gave their

   9      deposition the way you're giving one.                                  Have you

 10       reviewed any of those?

 11                 A              No.

 12                                (A discussion was held off the record.)

 13                 Q              Have you heard any recordings or seen any

 14       video related to this case at all, as far as you

 15       know?

 16                 A              No.

 17                 Q              Other than what I've told you today and

 18       other than what your lawyer may have mentioned to

 19       you, do you have any idea what it's about?

 20                 A              No.

 21                 Q              Have you ever heard of a group called
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   1                Q              Have you ever heard of this practice

   2      before, before reading it in Ms. Wesby's deposition?

   3                A              No.

   4                Q              Earlier, when we were talking about in

   5      most instances there is more than one way to travel

   6      between two -- more than one reasonable path --

   7                               Obviously, there is always more than one

   8      way.          People could take a helicopter, and it would be

   9      ridiculous.                But more than one, I think we're talking

 10       about, reasonable paths between two places in

 11       Annapolis.

 12                                What are the -- is there more than one

 13       route between the Miller Building and the statehouse

 14       that doesn't take somebody near Lawyers Mall or near

 15       the sidewalk to Lawyers Mall?

 16                 A              Yes.

 17                 Q              And what's the other route that doesn't

 18       take them near Lawyers Mall or near the sidewalk to

 19       Lawyers Mall?

 20                 A              College Avenue to Church Circle to School

 21       Street to State Circle.
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   1                Q              Is that a lot longer than going through

   2      Lawyers Mall or by Lawyers Mall?

   3                A              I wouldn't say it's that much longer, no.

   4                Q              But it's longer?

   5                A              I mean, maybe by a couple minutes.

   6                Q              And the -- can you see the sidewalk in

   7      front of Lawyers Mall when you travel that route,

   8      College to Church and so forth?

   9                A              Can I see the sidewalk of --

 10                 Q              Yeah, in front of -- in other words, if

 11       there were people with large signs on the sidewalk

 12       in front of Lawyers Mall and you took a protectee on

 13       that alternative route, could they still see the

 14       signs?

 15                 A              No.

 16                 Q              And when we took -- let's do it this way.

 17       Let's go ahead and mark this.

 18                                (Roby Exhibit 1 was marked for purposes of

 19       identification.)

 20                 Q              I'll show you what's been marked as Roby

 21       Exhibit 1.                And this is the deposition of Cpl. Ryan
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   1      Bitter, excerpts of it, not the whole thing.                                     You're

   2      welcome to the whole thing if you like, but these

   3      are excerpts of it.

   4                               You mentioned before you knew Cpl. Bitter

   5      and had worked with him previously, is that right?

   6                A              Yes.

   7                Q              And on the day I'm interested in -- and I

   8      can show you where in the depo, if it matters to

   9      you.          But on the day I'm interested in, Cpl. Bitter

 10       was working the console.                         And if you look at Page

 11       112.          Again, the page numbers are in the bottom

 12       right.

 13                                I was asking him about a communication

 14       that had come in from what we have determined either

 15       would have been you or Water, based on that's who was

 16       with the lieutenant governor.                             But the question at

 17       the top is:

 18                                "So it had to do in the first instance

 19       with avoiding the communication of the message and in

 20       the second instance avoiding any unpleasant wording

 21       in the message, is that fair?"                              He says, "Correct."
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   1                               And he had described earlier that he had

   2      sent an -- had called capitol police to send an

   3      officer out.                And I asked him, "But sending an

   4      officer out was to avoid those things, is that

   5      right?"           He says, "Correct."

   6                               And then I asked him, "And that's how it

   7      was communicated to you by the people who were with

   8      the lieutenant governor, is that right?"                                  And he

   9      says, "Correct."

 10                                Were you ever part of communicating to

 11       anyone at the console that the lieutenant governor

 12       wanted to avoid a message that some picketers had on

 13       some signs or avoid any unpleasant wording in the

 14       message?

 15                 A              Not that I recall, no.

 16                 Q              Were you ever part of telling Cpl. Bitter

 17       that you wanted or somebody wanted an officer sent

 18       out from the Maryland capitol police so that the

 19       lieutenant governor could avoid interacting with

 20       anyone?

 21                 A              No.
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   1                Q              In situations where there is no threat,

   2      have you ever, for any reason, communicated to the

   3      Maryland Capitol Police or sent a communication that

   4      was intended for them through your chain to send an

   5      officer out to picketers, in situations where there

   6      was no threat?

   7                A              No.

   8                Q              And do you agree with me that where there

   9      isn't a threat, it would be inappropriate and

 10       heavy-handed to send a uniformed officer out?

 11                                MR. FREDERICKSON:               Objection.       Go ahead.

 12                 A              Could you repeat it one more time?

 13                 Q              Sure.     In a situation where there is no

 14       illegal activity and no threat, do you agree with me

 15       it's inappropriate to send a uniformed officer out

 16       for a small group of picketers?

 17                                MR. FREDERICKSON:               Objection.       You can go

 18       ahead.

 19                 A              If it's just people -- I mean, picketers

 20       with signs, I would say we don't need a uniformed

 21       officer, no.
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